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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )     CIVIL ACTION NO.:
vs.                                 )     1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )     JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual)
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
      Defendants.                   )

                                     ORDER
      This action is before the Court on Andrew R. Tate’s Motion to Withdraw as

Counsel for Plaintiff Ramona Thurman Bivins. Mr. Tate has accepted a

position with another firm. Edward D. Buckley of Buckley Bala Wilson Mew

LLP will continue to represent Plaintiff Ramona Thurman Bivins.

      Accordingly, Mr. Tate’s Motion to Withdraw is hereby GRANTED. The

Clerk is DIRECTED to terminate Mr. Tate as counsel for Plaintiff

Ramona Thurman Bivins.

      So ORDERED this 11th day of April, 2023.
